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                                                            August 11, 2021
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                                                         WESTERN DISTRICT OF TEXAS

                                                             Breanna Coldewey
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